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  8                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10                              WESTERN DIVISION
 11
    VELTEX CORPORATION, a Utah             ) CASE NO. CV10 1746 ABC (PJWx)
 12 corporation,                           )
                                           ) [PROPOSED] FINAL
 13                       Plaintiff,       ) JUDGMENT
                                           )
 14         vs.                            )
                                           )
 15   JAVEED AZZIZ MATIN, an               )
      individual; TANZILA SULTANA, an )
 16   individual; SAASHA CAMPBELL, an )
      individual; MAZHAR HAQUE, an         )
 17   individual; ALLEN E. BENDER, an      )
      individual; VELTEX USA, INC., a      )
 18   Delaware corporation; VELTEX         )
      APPAREL, INC., a California          )
 19   corporation; VELTEX INDUSTRIES, )
      INC., a Delaware corporation;        )
 20   VELTEX EXPLORER, INC., a             )
      Canadian corporation; VELTEX         )
 21   CANADA, INC., a Canadian             )
      corporation; WILSHIRE EQUITY,        )
 22   INC. aka WILSHIRE EQUITIES,          )
      INC., a Colorado corporation;        )
 23   AMERICAN REGISTRAR &                 )
      TRANSFER CO., a Utah corporation; )
 24   PATRICK R. DAY, an individual;       )
      RICHARD M. DAY, an individual;       )
 25   MOORE & ASSOCIATES,                  )
      CHARTERED, a Nevada corporation; )
 26   MICHAEL J. MOORE, an individual; )
      CHISHOLM, BIERWOLF, NILSON )
 27   & MORRILL, CPA aka CHISHOLM, )
      BIERWOLF & NILSON, LLC, a Utah )
 28   limited liability company; BRAD B.   )
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                               [PROPOSED] FINAL JUDGMENT
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    HAYNES, an individual; ANNE                )
  1 TAHIM, an individual; JAAK U.              )
    OLESK, an individual; and                  )
  2 CARMINE J. BUA, an individual,             )
                                               )
  3                      Defendants.           )
  4         PLEASE TAKE NOTICE THAT on March 19, 2012, the following
  5   application came on for hearing: Plaintiff Veltex Corporation’s Application for
  6   Entry of Default Judgment by Court Against Defendants Javeed Azziz Matin,
  7   Mazhar Haque, Wilshire Equity, Inc. aka Wilshire Equities, Inc., Tanzila Sultana,
  8   Michael J. Moore, Moore & Associates, Chartered, Veltex Apparel, Inc., Veltex
  9   Industries, Inc. and Veltex USA, Inc. (“Application”). Maryann R. Marzano, Esq.
 10   and Kristen M. Peters, Esq. of Blecher & Collins, P.C. and Merle L. Royce, Esq. of
 11   the Law Offices of Merle L. Royce, who was admitted pro hac vice, appeared on
 12   behalf of Plaintiff Veltex Corporation. No other appearances were made. The Court
 13   called the matter for hearing and heard and considered the Application.
 14         Plaintiff Veltex Corporation (“Plaintiff” or “Veltex”) filed and served upon
 15   Defendants Javeed Azziz Matin (“Matin”), Tanzila Sultana (“Sultana”), Mazhar
 16   Haque (“Haque”), Veltex USA, Inc. (“Veltex USA”), Veltex Apparel, Inc. (“Veltex
 17   Apparel”), Veltex Industries, Inc. (“Veltex Industries”), Moore & Associates
 18   Chartered (“Moore & Associates”), Michael J. Moore (“Moore”) and Wilshire
 19   Equity, Inc. aka Wilshire Equities, Inc. (“Wilshire”) a summons and Complaint in
 20   the action. Said Defendants failed to appear and answer or otherwise respond to the
 21   Complaint.1
 22         On June 30, 2010, the Clerk of the Court entered the default of Defendants
 23   Sultana, Veltex Apparel, Veltex Industries and Moore & Associates pursuant to Rule
 24   55(a) of the Federal Rules of Civil Procedure. On July 2, 2010, the Clerk of Court
 25   entered the default of Defendants Moore, Wilshire, Matin and Haque pursuant to
 26

 27  Veltex served a First Amended Complaint in the action on July 16, 2010.
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    However, the FAC did not include any additional allegations regarding any of the
 28 Defendants in default.
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                            [PROPOSED] FINAL JUDGMENT
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  1   Rule 55(a) of the Federal Rules of Civil Procedure. On November 2, 2010, the
  2   Clerk of the Court entered the default of Veltex USA pursuant to Rule 55(a) of the
  3   Federal Rules of Civil Procedure.
  4         Veltex has filed an Application for Entry of Default Judgment by Court
  5   pursuant to Rule 55(b) of the Federal Rules of Civil Procedure with supporting
  6   papers establishing damages under its various claims. The Application, having been
  7   presented, fully considered and approved by the Honorable Audrey B. Collins at the
  8   conclusion of the hearing, and a decision having been fully rendered,
  9                                              I.
 10          IT IS HEREBY ORDERED, ADJUDICATED AND DECREED that
 11   Veltex’s Application for Entry of Default Judgment under the First Claim for Relief
 12   is GRANTED. The Court finds that the shares and assets were diverted and
 13   transferred to Matin, Sultana, Wilshire and others and converted to their own use by
 14   them as part of the scheme to violate the securities laws, as alleged in the First Claim
 15   For Relief, and that Veltex was deprived of and lost the fair market value of its
 16   shares and assets in the amount of One Hundred Million, Seventy Eight Thousand,
 17   and Six Hundred Twenty One Dollars ($100,078,621) as a direct and proximate
 18   result thereof. The Court further finds that Defendants Matin, Sultana, Haque,
 19   Wilshire, Veltex USA, Veltex Apparel, Veltex Industries, Moore & Associates and
 20   Moore participated in the diversion and conversion of its common stock and assets
 21   in connection with the continuing scheme alleged in the First Claim for Relief.
 22         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that
 23   judgment be and hereby is entered in favor of Veltex and against Defendants Matin,
 24   Sultana, Haque, Wilshire, Veltex USA, Veltex Apparel, Veltex Industries, Moore &
 25   Associates and Moore, jointly and severally, in the amount of One Hundred Million,
 26   Seventy Eight Thousand, and Six Hundred Twenty One Dollars ($100,078,621) on
 27   the First Claim For Relief.
 28   //
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                               [PROPOSED] FINAL JUDGMENT
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  1                                             II.
  2         IT IS HEREBY ORDERED, ADJUDICATED AND DECREED that
  3   Veltex’s Application for Entry of Default Judgment under the Second Claim for
  4   Relief Is GRANTED. The Court finds that the shares and assets of Veltex were
  5   fraudulently transferred and conveyed to Matin, Sultana, Wilshire and others entities
  6   or persons associated with Matin or under his ownership or control without
  7   consideration in violation of Sections 4(a) and 5(b) of the Uniform Fraudulent
  8   Transfer Act, California Civil Code § 3439.04(a) and (b). The Court further finds
  9   that Veltex was deprived of and lost the fair market value of its stock and assets in
 10   the amount of One Hundred Million, Seventy Eight Thousand, and Six Hundred
 11   Twenty One Dollars ($100,078,621) as a direct and proximate cause of such
 12   fraudulent conveyances. The Court further finds that as the officers and directors of
 13   Veltex, Matin and Haque are responsible for such fraudulent transfers and that
 14   Matin, Sultana, Wilshire, Veltex USA, Veltex Apparel, and Veltex Industries were
 15   all recipients and transferees of such stock and assets of Veltex with specific
 16   knowledge of the fraudulent nature of transfers.
 17         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that
 18   judgment be and hereby is entered in favor of Veltex and against Defendants Matin,
 19   Sultana and Haque, jointly and severally, in the amount of One Hundred Million,
 20   Seventy Eight Thousand, and Six Hundred Twenty One Dollars ($100,078,621) on
 21   the Second Claim for Relief.
 22                                             III.
 23         IT IS HEREBY ORDERED, ADJUDICATED AND DECREED that
 24   Veltex’s Application for Entry of Default Judgment under the Third Claim For
 25   Relief Is GRANTED. The Court finds that Matin and Haque conspired to breach
 26   and did breach their fiduciary duties to Veltex in that they conveyed the stock and
 27   assets of Veltex to Matin, Sultana, Wilshire and others without consideration to
 28   convert such stock and assets to their own use. The Court further finds that Veltex
                                                4
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  1   was deprived of and lost the fair market value of its stock and assets in the amount
  2   of One Hundred Million, Seventy Eight Thousand, and Six Hundred Twenty One
  3   Dollars ($100,078,621) as a direct and proximate result of such breach of fiduciary
  4   duty.
  5           IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that
  6   judgment be and hereby is entered in favor of Veltex and against Defendants Matin
  7   and Haque in the amount of One Hundred Million, Seventy Eight Thousand, and Six
  8   Hundred Twenty One Dollars ($100,078,621) on the Third Claim for Relief.
  9                                              IV.
 10           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Plaintiff
 11   Veltex Corporation shall recover from Defendants Javeed Azziz Matin, Mazhar
 12   Haque, Wilshire Equity, Inc. aka Wilshire Equities, Inc., Tanzila Sultana, Michael J.
 13   Moore, Moore & Associates, Chartered, Veltex Apparel, Inc., Veltex Industries, Inc.
 14   and Veltex USA, Inc., jointly and severally, the judgment as follows:
 15           (a)   Damages, in the amount of:         $100,078,621.00
 16           (b)   Prejudgment Interest of:           $    793,442.862 ($1,069.33/day)
 17           (c)   Attorneys’ Fees pursuant
 18                 to L.R. 55-3 in the amount of: $       2,005,172.42
 19           (d)   Costs and Expenses of:             $       3,859.95
 20           TOTAL                                    $102,881,096.23
 21                                              V.
 22           IT IS HEREBY ADJUDGED AND DECREED that, for the reasons stated
 23   above and in the Court’s Order to Submit Proposed Final Judgment, dated January
 24   17, 2012, this action is dismissed with prejudice and without costs, except as
 25

 26  The sum of $793,442.86 represents prejudgment interest accruing on the damages
      2


 27 amount at the federal statutory rate from March 10, 2010, the date of filing of the
    lawsuit, up to and including March 20, 2012. Prejudgment interest accrues at the per
 28 diem rate of $1,069.33/day thereafter until the date of entry of judgment.
                                              5
                             [PROPOSED] FINAL JUDGMENT
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  1   provided for above and except as provided for in the Settlement Agreements
  2   Plaintiff Veltex Corporation entered into with American Registrar & Transfer Co.
  3   (“ARTCO”), Defendant Jaak U. Olesk (“Olesk”), and Defendant Brad B. Haynes
  4   (“Haynes”).
  5         Without affecting the finality of this Judgment in any way, this Court hereby
  6   retains continuing jurisdiction over this litigation, including jurisdiction over: (a) all
  7   further proceedings concerning the administration, consummation, enforcement, and
  8   implementation of the Settlements by and between Plaintiff Veltex Corporation and
  9   ARTCO, Plaintiff Veltex Corporation and Olesk, and Plaintiff Veltex Corporation
 10   and Haynes; and (b) all parties hereto for the purpose of construing, enforcing and
 11   administering the Judgment.
 12         There being no just reason for further delay, pursuant to Rule 54(b) of the
 13   Federal Rules of Civil Procedure, the Clerk of the Court is ordered to enter this Final
 14   Judgment forthwith and without further notice.
 15

 16   Dated: March 26, 2012
 17

 18                                                   ______________________
                                                      Hon. Audrey B. Collins
 19                                                   United States District Judge
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 21

 22
      Submitted by:
 23
      BLECHER & COLLINS, P.C.
 24
    By: /S/ Maryann R. Marzano
 25     Maryann R. Marzano
        Attorneys for Plaintiff
 26     VELTEX CORPORATION
 27
 28
                                             6
                                [PROPOSED] FINAL JUDGMENT
